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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8    JOSHUA D. LAMBERT,

 9                                   Plaintiff,           Case No. C19-1829-BJR-MAT

10           v.
                                                          MINUTE ORDER
11    ROBERT S. McKAY, et al.,

12                                   Defendants.

13

14          The following Minute Order is made by direction of the Court, the Honorable Mary Alice

15   Theiler, United States Magistrate Judge:

16          Defendants’ joint motion to stay discovery (Dkt. 47) is GRANTED. The Court, in

17   conjunction with this Minute Order, has issued Reports and Recommendations with respect to the

18   parties’ pending dispositive motions, and has recommended that all claims asserted by plaintiff in

19   his complaint be dismissed. In light of these recommendations, it would serve no purpose for the

20   parties to undertake discovery at this point. Discovery is therefore STAYED pending final

21   resolution of the parties’ dispositive motions.

22   ///

23   ///

     MINUTE ORDER - 1
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 1          The Clerk is directed to send copies of this Minute Order to plaintiff, to all counsel of

 2   record, and to the Honorable Barbara J. Rothstein.

 3          DATED this 9th day of November, 2020.

 4                                               WILLIAM McCOOL, Clerk

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                                                 By s/ Michael Williams
 6                                                     Deputy Clerk

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